             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:13 cr 09-19


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
ANGELA LEIGH WIKE,                           )
                                             )
                 Defendant.                  )
__________________________________           )


        THIS MATTER has come before the undersigned pursuant to information

provided by the United States Probation Office.         On August 5, 2013, the

undersigned released Defendant on terms and conditions of pretrial release. Those

terms and conditions of pretrial release included the following: “Defendant is to

participate and complete a period of inpatient treatment at the Appalachian

Treatment Facility in Black Mountain, NC.” The undersigned had been advised at

the time of the hearing of Defendant’s motion for release, that arrangements had

been made for her to begin immediate participation in the inpatient treatment

program. On August 19, 2013, the undersigned was advised by the United States

Probation Office that Defendant was not participating in inpatient treatment. As a

result, the undersigned will set this matter on for hearing for the status of

Defendant’s continued release on terms and conditions of pretrial release.




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                                    ORDER

      IT IS, THEREFORE, ORDERED that this matter be set for a status of

bond hearing for August 26, 2013 at 9:50 a.m. in courtroom #2 of the United

States Courthouse in Asheville, North Carolina for consideration as to whether or

not Defendant should continue to be released on terms and conditions of pretrial

release.

                                             Signed: August 22, 2013




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